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                         EXHIBIT 8
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                              .BSZ&SEPFT                Page 2 of 4


    6/*5&%45"5&4%*453*$5$0635'035)&

    4065)&3/%*453*$50'/&8:03,

    9

    +BOF%PF JOEJWJEVBMMZBOEPOCFIBMGPG

      BMMPUIFSTTJNJMBSMZTJUVBUFE


    1MBJOUJGG $BTF/P

      DW +43

    W

    +1.PSHBO$IBTF#BOL /"

      %FGFOEBOU

    

    (07&3/.&/50'5)&6/*5&%45"5&4

      7*3(*/*4-"/%4

    $BTF/P

      DW +43

    1MBJOUJGG

    W

    +1.03("/$)"4&#"/, /"

    %FGFOEBOU

    

       $0/'*%&/5*"-1035*0/6/%&34&1"3"5&$07&3

       %&104*5*0/0'."3:&3%0&4

    8FEOFTEBZ .BSDI 




    3FQPSUFECZ

    "OHFMB.4IBX$SPDLFUU $$3 $33 3.3




(PMLPX-JUJHBUJPO4FSWJDFT                                              1BHF
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    28FSFZPVBXBSFUIBU.S&QTUFJOUSBEFE

    GPSFJHOFYDIBOHFXJUI+1.PSHBO$IBTF

    "*EPOhUSFDBMMUIFTQFDJGJDTPG

    .S&QTUFJOhTSFMBUJPOTIJQ

    2*OBOFBSMJFSFNBJMPS OPUBOFNBJM

    PSBSBQJESFTQPOTFNFNP UIFSFXBTJOEJDBUJPOUIBU

    UIFQSJWBUFCBOLXPVMEPOMZCFQSPWJEJOHCBOLJOH

    TFSWJDFT

    %PZPVSFDBMMUIBU

    ":FT *SFDBMMUIBU

    2%PFTUIBUNFBODBTINBOBHFNFOU

    FTTFOUJBMMZ

    "#BOLJOHSFMBUJPOTIJQTHFOFSBMMZNFBOT

    CBOLJOHBDUJWJUZPGDIFDLJOH KVTUOPOOPUUIJOHT

    MJLFTUPDLUSBEJOHBOEIFEHFGVOENBOBHFNFOU

    2%PZPVLOPXXIFUIFSUIFSFXBTBOPUIFS

    CSBODIPSMJOFPGCVTJOFTTXJUIJO+1.PSHBO$IBTF

    UIBUIBOEMFEBOZGPSFJHOFYDIBOHFUSBEJOHFRVJUZ

    USBEJOH GJYFEJODPNFUSBEJOH

    ""N*BXBSFUIFSFhTBOPUIFSTBZUIBU

    RVFTUJPOBHBJO

    2#BERVFTUJPO

    +1.PSHBO$IBTFBDRVJSFE#FBS4UFBSOTBU

    TPNFQPJOU DPSSFDU




(PMLPX-JUJHBUJPO4FSWJDFT                                              1BHF
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    "$PSSFDU

    2%PZPVLOPXXIFUIFS.S&QTUFJOEJEBOZ

    USBEJOHBDUJWJUJFTUISPVHI#FBS4UFBSOT

    "*EPOhULOPXXIBU.S&QTUFJOEJEXJUI

    #FBS4UFBSOT

    2*hNTPSSZ

    "*EPOhULOPXXIBU.S&QTUFJOhT

    SFMBUJPOTIJQXBTXJUI#FBS4UFBSOT

    20LBZ1SJWBUFCBOLJOHDBOIBOEMFXIBU

    *hMMDBMMUSBEJUJPOBMCSPLFSBHFTFSWJDFT DPSSFDU

    "$PSSFDU

    2#VUJUDBOBMTPTJNQMZQSPWJEFCBOLJOH

    TFSWJDFTBOEIBWFBOPUIFSQBSUPG JGZPVXJMM UIF

    +1.PSHBOGBNJMZ IBOEMFCSPLFSBHFBOEFYFDVUJPO

    TFSWJDFT DPSSFDU

    "$PSSFDU

    2"OEZPVEPOhULOPXXIFUIFSUIBUXBTTQMJU

    JOUIFDBTFPG.S&QTUFJO

    "/P *EPOhULOPX

    20LBZ*GZPVSFBEDPOUJOVFUPSFBE

    IFSFPOUIJTEVFEJMJHFODFSFQPSU JUTBZTIF 

    NFBOJOH.S&QTUFJO NBOBHFTNPOFZGPS

    IJHIOFUXPSUIJOEJWJEVBMT TQFDJGJDBMMZ-FTMJF

    8FYOFS




(PMLPX-JUJHBUJPO4FSWJDFT                                              1BHF
